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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES -- GENERAL

Case No.     CV 18-9573-JFW(JPRx)                                            Dated: March 9, 2020

Title:       Federal Trade Commission -v- Apex Capital Group, et al.

PRESENT:     HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

             Shannon Reilly                         Miranda Algorri
             Courtroom Deputy                       Court Reporter

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PROCEEDINGS:       RECEIVER'S MOTION TO EXTEND COMPLETION DEADLINE FOR
                   RECEIVER [143] Filed 2/4/20

                   RECEIVER'S MOTION FOR AUTHORIZATION TO ENGAGE CONTINGENT
                   FEE COUNSEL [144] Filed 2/4/20

Case called. Receiver, Thomas W. McNamara is present with counsel Logan D. Smith.

The Court signs the Receiver's Motion to Extend Completion Deadline for Receiver [143].

The Court hears from the Receiver and for the reasons stated on the record. The Court grants the
Receiver's Motion for Authorization to Engage Contingent Fee Counsel, Jonathan M. Rotter [144]
and signs the proposed order.




                                                                       Initials of Deputy Clerk   sr

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